Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 1 of 40 Page ID #:13




           EXHIBIT A
        Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 2 of 40 Page ID #:14
                                                                                                                                                        SUM-100
                                            SUMMONS                                                                           FOR OFFICE USE ONLY

                                     (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):                                                                                            Electronically FILED by
                                                                                                                 Superior Court of California,
 MERCEDES-BENZ USA,LLC,a Delaware Limited Liability Company, and                                                 County of Los Angeles
 DOES 1 through 10, inclusive                                                                                    1/17/2024 7:52 AM
                                                                                                                 David W. Slayton,
 YOU ARE BEING SUED BY PLAINTIFF:                                                                                Executive Officer/Clerk of Court,
                                                                                                                 By M. Stepanyan, Deputy Clerk
(LO ESTA DEMANDANDO EL DEMANDANTE):
 DAVID WANG,an individual and DK Garment International Corporation


   NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
   may be taken without further warning from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selthelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The courts lien must be paid before the court will dismiss the case.
  lAVISOI Lo han demandado. Si no responde dentro de 30 dlas, la code puede decidir en su contra sin escuchar su version. Lea la informacion a
  continuaci6n.
     Tien° 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles legates pare presentar una respuesta por escrito en esta
  carte y hacer que se entregue una copia al demandante. Una carte o una Ilamade telefonica no to protegen. Su respuesta por escrito tiene que ester
  en formato legal correct° si desea que procesen su caso en la code. Es posible que haya un formulario que usted puede user pare su respuesta.
  Puede encontrar estos forrnulanbs de la code y mas informaci6n en el Centro de Ayuda de las Codes de California (Www.sucorte.ca.gov), en la
  biblioteca de toyes de su condado o en la code que le quede mas cerca. Si no puede pager la cuota de presentaci6n, pida al secretario de la code
  que le de un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y /a code to
  podra guitar su sueldo, diner° y bienes sin mas advertencia.
    Hay otros requisitos legates. Es recomendable que name a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
  remisi6n a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisitos pare obtener servicios legates gratuitos de un
  programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Codes de California,(www.sucorte.ca.gov) o poniendose on contacto con la code o el
  colegio de abogados locales. AVISO:Potley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
  cualquier recuperacion de $10,0006 mas de valor recibida medianto un acuerdo o una concesion de arbitrafe en un caso de derecho civil. Tiene que
  pager el gravamen de la carte antes de que ía code puede desechar el caso.
 The name and address of the court is: County of Los Angeles Superior Court                               CASE NUMBER:
                                                                                                         (Numero del Caso):
(El nombre y direccion de la code es):
 Alhambra Courthouse, 150 West Commonwealth, Alhambra, CA 91801                                            24AHCV00096

 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
( El nombre, la direcciOn y el nOmero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
 Sepehr Daghighian, Esq., CALIFORNIA CONSUMER ATTORNEYS,P.C.
 10866 Wilshire Blvd, Suite 1200, Los Angeles, CA 90024 — Tel:(310)872-2600
 DATE: 0111712024                                                                Clerk, by                                ,Deputy
( Fecha)                      David W. Slayton, Executive OfficerICIerk of Court (Secn3tario)  M. Stepanyan               (Adjunto)
(For proof ofservice of this summons, use Proof of Service of Summons(form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010)).
                                    NOTICE TO THE PERSON SERVED: You are served
                                    1.          as an individual defendant.
                                    2. -
                                       1 1 as the person sued under the fictitious name of (specify):

                                                                            MERCEDES-BENZ USA, LLC, a Delaware Limited Liability Company
                                       3, 15C1 on behalf of (specify):

                                            under: LI CCP 416.10 (corporation)                   CCP 416.60(minor)
                                                   El CCP 416.20 (defunct corporation)           CCP 416.70(conservatee)
                                                      CCP 416.40 (association or partnership)-
                                                                                             I 1 CCP 416.90 (authorized person)
                                                   X     other (specify): Corp. Code 17701.16, Limited Liability Company
                                       4.        by personal delivery on (date):
                                                                                                                                                            Page 1 of 1
  Form Adopted for Mandatory Use
    Judicial Council of California
                                                                       SUMMONS                                                    Code of Clyll Procedure §§ 412.20. 465
                                                                                                                                                    www.courtinto.ca.gov
   SUM-100 [Rev. July 1,2009]
              Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 3 of 40 Page ID #:15

                                                                                                                                                                                                          CM-010
ATTORNEYORPARTYWITHOUTATTORNEY
                             (Name, State Ear number, and address):
                                                                                                                                                                      FOR COURTUSE ONLY
 CALIFORNIA CONSUMER         ATTORNEYS,P.C.
 Michael H. Rosenstein (SBN 169091); Sepehr Daghighian                                     (SBN 239349)
 10866 Wilshire Blvd, Suite 1200, Los Angeles, CA90024
TELEPHONENO.: (310) 872-2600                                                       FAX NO.: (310) 730-7377                                                Electronically       FILED by
                                                                                                                                                          Superior Court of California,
EMAIL ADDRESS: mhagcalattorneys.com;                      sd@calattorneys.com
                                                                                                                                                          County of Los Angeles
ATTORNEYFOR(Name):                 DKGarment International           Corporation      and David Wang                                                      1/17/2024 7:52 AM
SUPERIOR COURTOF CALIFORNIA, COUNTYOF Los ANGELES                                                                                                         David W. Slayton,
                                                                                                                                                          Executive      Officer/Clerk    of Court,
 STREET ADDRESS: 150 West Commonwealth
                                                                                                                                                          By M. Stepanyan,           Deputy Clerk
 MAILING ADDRESS: 150 West Commonwealth
CITY ANDZIP CODE: Alhambra 91801
         BRANCHNAME:Alhambra                Courthouse

CASE NAME:
 DK Garment International                   Corporation      and David Wang v. Mercedes-Benz                      USA, LLC
       CIVIL CASECOVERSHEET                                                                                                             CASE NUMBER:
                                                                                   Complex Case Designation
     x   Unlimited                                        Limited                            Counter                      Joinder           2 4A I—ICV00 0 96
        ( Amount                                         (Amount
                                                                             Filed with first appearance              by defendant      JUDGE:
         d emanded                                        demanded is
                                                                                  ( Cal. Rules of Court, rule 3.402)                     DEPT.:
         e xceeds $35,000)                                $35,000 or less)
                                                              Items 1-6 below must be completed (see                 instructions  on  page        .
 1 . Check one box below for the case type that best describes                                        this case:
      Auto Tort                                                              Contract                                               Provisionally         Complex Civil Litigation
              Auto (22)                                                      ET B• reach of contract/warranty               (06)   ( Cal. Rules of Court, rules 3.400-3.403)
              Uninsured motorist (46)                                                 Rule 3.740 collections        (09)                     Antitrust/Trade       regulation (03)
     Other PI/PD/WD (Personal                          Injury/Property                Other collections        (09)                          Construction       defect   (10)
      Damage/Wrongful                 Death) Tort                                                                                            Mass     tort (40)
                                                                                      I nsurance coverage (18)
              Asbestos (04)                                                           Other contract (37)                           TT Securities litigation (28)
              Product liability (24)                                                                                                         Environmental/Toxic            tort (30)
                                                                             Real Property
    -1 1 Medical malpractice (45)                                                                                                            I nsurance coverage claims arising from the
                                                                                      Eminent domain/Inverse
              Other PI/PD/WD (23)                                                                                                            a bove listed provisionally          complex case
                                                                                      condemnation (14)
                                                                                                                                             t ypes (41)
      Non-PIB/P uD s iNV
                      nesDs(tOo tr tih ue nr)f aTi o
                                                   r                         TT W• rongful eviction (33)                            Enforcement of Judgment
    f      j                                         business practice ( 07) TT O• ther real property (26)                                   Enforcement of judgment (20)
              Civil rights (08)                                              Unlawful Detainer
                                                                                                                                    Miscellaneous          Civil Complaint
              Defamation (13)                                                         Commercial (31)
                                                                                                                                             RICO (27)
              Fraud (16)                                                              R• esidential     (32)
                                                                                                                                             Other complaint (not specified            above) (42)
              I ntellectual     property (19)                                F-1        D • rugs (38)
                                                                                                                                    Miscellaneous          Civil Petition
              Professional            negligence (25)                        J udicial Review
                                                                                                                                             Partnership       and corporate governance (21)
              Other non-PUPD/WD tort (35)                                             Asset forfeiture       (05)
      Employment                                                                      Petition re: arbitration      award (11)               Other petition (not specified above) (43)
                 Wrongful         termination     (36)                                           Writ of mandate (02)
                 Other employment (15)                                               FT Other judicial            review (39)
2.        This case                    is          X      complex under rule 3.400 of the California
                                                          is not                                       Rules of Court. If the case is complex, mark the
          factors requiring            exceptional        judicial
                                                       management:
                                                                                 d. FT Large number of witnesses
         a.           Large number of separately       represented      parties
                                                                                 e.       Coordination     with related actions pending in one or more
         b.           Extensive   motion practice   raising difficult   or novel
                                                                                          c ourts in other counties,    states,    or countries, or in a federal
                      issues that will be time-consuming        to resolve
                                                                                          c ourt
         C.           Substantial  amount of documentary          evidence                                                           supervision
                                                                                 f. n i Substantial      postjudgment     judicial
3.        Remedies sought (check all that apply): a.                                        monetary         b.            n onmonetary;    declaratory      or injunctive        relief     c.     It      punitive
4.        Number of causes of action (specify):  3
5.        This case       is           is not    a class                                action     suit.
6. If there are any known related                           cases,       file and serve           a notice    of related     case. (You may use form
Date: January 17, 2024
Sepehr Daghighian
                                      (TYPE OR PRINT NAME)                                                                                 ( SIGNATURE0                                    FOR PARTY)
                                                                                        NOTICE
 •         Plaintiff must fi le this cover sheet with the fi rst paper fi led in the action or proceeding (except small claim bases or cases filed
           u nder the Probate Code, Family Code, or Welfare and Institutions             Code). (Cal. Rules of Court, rule 3.220.) Failure to fi le may result in sanctions.
•        File this cover sheet in addition to any cover sheet required by local court rule.                          _                                             _ _
.        If this case is complex under rule 3.400 et seq. of the California          Rules of Court, you must  serve  a copy  of  this cover  sheet on  all other parties   to
         t he action or proceeding.
 •       Unless this is a collections     case under rule 3.740 or a complex case, this cover sheet will be used for statistical         purposes only.                   Page 1 of 2
Form Adopted for Mandatory          Use                                                                                                                   Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403,     3.740;
J udicial Council of California                                                         CIVIL CASE COVERSHEET                                                      Cal. Standards of Judicial Administration.  std. 3.10
       Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 4 of 40 Page ID #:16

                                      INSTRUCTIONS ON HOW                     TO COMPLETETHE COVERSHEET                                                                     CM-010
To Plaintiffs      and Others        Filing    First Papers.     If you are  fi ling   a first    paper  (for example,   a complaint)    in  a civil case,     you  must
complete and fi le, along with your fi rst paper, the Civil Case Cover Sheet contained on page 1. This information                                      will be used to compile
s tatistics   about the types and numbers of cases fi led. You must complete items 1 through 6 on the sheet. In item 1, you must check
o ne box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
c heck the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
s heet must be fi led only with your initial paper. Failure to fi le a cover sheet with the first paper filed in a civil case may subject a party,
 its counsel, or both to sanctions            under rules 2.30 and 3.220 of the California                 Rules of Court.
To Parties in Rule 3.740 Collections                  Cases. A "collections         case" under rule 3.740 is defined as an action for recovery of money owed
i n a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's                             fees, arising from a transaction            in which
property, services,       or money was acquired on credit.              A collections          case does not include an action seeking the following: (1) tort
d amages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment.       The identification        of a case as a rule 3.740 collections              case on this form means that it will be exempt from the general
time -for -service requirements            and case management rules, unless a defendant files a responsive                        pleading.      A rule 3.740 collections
case will be subject to the requirements               for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate                                               whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California                             Rules of Court, this must be indicated             by
completing the appropriate             boxes in items 1 and 2. If a plaintiff designates                a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may fi le and serve no later than the time of its first appearance                                   a joinder in the
plaintiffs   designation,     a counter -designation         that the case is not complex, or, if the plaintiff has made no designation,                      a designation     that
t he case is complex.                                                   CASETYPES ANDEXAMPLES
 Auto Tort                                                      Contract
                                                                Con                                                             Provisionally           Complex Civil Litigation           (Cal.
       Auto (22) —Personal Injury/Property                           Breach of Contract/Warranty                 (06)           Rules of Court Rules 3.400-3.403)
                 Damage/Wrongful                Death                      Breach of Rental/Lease                                       Antitrust/Trade             Regulation (03)
           Uninsured Motorist (46) (if the                                        Contract (not unlawful detainer                       Construction            Defect (10)
          case involves an uninsured                                                      or wrong fu l eviction)
                                                                                                            i ti                        Claims Involving Mass Tort (40)
          motorist claim subject to                                        Contract/Warranty           Breach —Seller                   Securities         Litigation (28)
          a rbitration,       check this item                                     Plaintiff
                                                                                  Plan  i      (not fraud or negligence)                Environmental/Toxic                Tort (30)
          instead of Auto)                                                  Negligent Breach of Contract/                               Insurance Coverage Claims
 Other PI/PD/WD (Personal                       Injury/                           Warranty                                                       (arising from provisionally           complex
 Property Damage/Wrongful                         Death) Tort              Other Breach of Conrt a ct/W arrany t                                  case type listed above) (41)
      Asbestos (04)                                                  Collections       (e.g., money owed, open                  Enforcement of Judgment
           Asbestos Property Damage                                        boo k accounts)t ( 09)                                   Enforcement of Judgment (20)
           Asbestos Personal Injury/                                       Collection        Case —Seller Plaintiff                        Abstract of Judgment (Out of County)
                    W   rongful Death                                      Other Promissory Note/Collections             Case       Confession of Judgment (non -domestic
     Product Liability (not asbestos or                              Insurance Coverage (not provisionally                                  relations)
            t oxic/environmental)              (24)                        complex) (18)                                            Sister State Judgment
      Medical Malpractice (45)                                             Auto Subrogation                                         Administrative            Agency Award
              Medical Malpractice—                                         Other Coverage                                                 (not unpaid taxes)
                      Physicians &Surgeons                           Other Contract (37)                                             Petition/Certification             of Entry of
      Other Professional                  Health Care                      Con t racua   t lF  Fraudd                                       Judgment on Unpaid Taxes
                  Malpractice                                              Other Contract Dispute                                    Other Enforcement of Judgment Case
      Other PI/PD/WD (23)                                       Real Property                                                   Miscellaneous             Civil Complaint
              Premises Liability (e.g., slip                         Em
                                                                     Eminent t D   Domain/Inverse
                                                                                             i /I                                    RICO (27)
                      a nd fall)                                           Condemnation (14)                                         Other Complaint (not specified                  above) (42)
              I ntentional       Bodily Injury/PD/WD                 Wrongful Eviction (33)                                                  Declaratory          Relief Only
                     ( e.g., assault, vandalism)                     Other Real Property (e.g., quiet title) (26)                            Injunctive        Relief Only (non -
              I ntentional       Infliction    of                          Writ of Possession          of Real Property                              harassment)
                      Emotional Distress                                   Mortgage Foreclosure                                              Mechanics Lien
              Negligent Infliction            of                           Qu ie t Title                                                     Other Commercial Complaint
                       Emotional Distress                                  Other Real Property (not eminent                                          Case (non-tort/non-complex)
              Other PI/PD/WD                                               domain, landlord/tenant,             or                           Other Civil Complaint
 Non-PI/PD/WD (Other) Tort                                                 foreclosure)                                                             (non-tort/non-complex)
      Business Tort/Unfair                  Business            Un lawf u l De t aner i                                         Miscellaneous             Civil Petition
            Practice (07)                                            Commercial (31)                                                 Partnership          and Corporate
     Civil Rights (e.g., discrimination,                             Residential       (32)                                                 Governance (21)
               false arrest) (not civil                              Drugs (38) (if the case involves illegal                        Other Petition (not specified above) (43)
                harassment) (08)                                     drugs, check this item; otherwise,                                     Civil Harassment
      Defamation (e.g., slander, libel) (13)                         report as Commercial or Residential)                                   Workplace Violence
      Fraud (16)                                                Judicial     Review                                                         Elder/Dependent              Adult Abuse
      I ntellectual        Property (19)                             Asset Forfeiture (05)                                                  Election Contest
     Professional             Negligence (25)                        Petition Re: Arbitration           Award (11)                          Petition for Name Change
            Legal Malpractice                                        Writ of Mandate (02)                                                   Petition for Relief From Late Claim
            Other Professional               Malpractice                   Writ—Administrative          M
                                                                                                        Mandamus
                                                                                                               d                            Other Civil Petition
                  ( not medical or legal)                                  Writ —Mandamus on Limited Court
     Other Non-PI/PD/WD Tort (35)                                               Case Matter
 Employment                                                                Writ —Other Limited Court Case Review
     W    rongful Termination (36)                                   Other Judicial Review (39)
     Other Employment (15)                                                 Review of Health Officer Order
                                                                           Notice of Appeal —Labor Commissioner
                                                                               A ppal
CM-010 (Rev. January    1, 2024]                                                                                                                                                       Page 2 of 2
                                                                             CIVIL CASE COVERSHEET
      Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 5 of 40 Page ID #:17

      SHORTTITLE                                                                                                                                                                             CASE NUMBER
                                   DKGarment International                   Corporation       and David Wang v. Mercedes-Benz                             USA, LLC



                                                              ANDSTATEMENTOF LOCATION
                                 CIVIL CASE COVERSHEET ADDENDUM
                                                                    FOR ASSIGNMENTTO COURTHOUSE
                                             ( CERTIFICATE OF GROUNDS                         LOCATION)

             This form is required                         pursuant              to Local Rule 2.3 in all new civil case filings                                                 in the Los Angeles Superior                        Court

     Step 1: After completing the Civil Case Cover Sheet (Judicial      Council form CM-010), find the exact case type
     i n Column A that corresponds to the case type indicated      in the Civil Case Cover Sheet.
     Step 2: In Column B, check the box for the type of action                                                                                     that best describes                    the nature              of the case.
     Step 3: In Column C, circle                                           the number which explains                                               the reason              for the court filing                   location         you have
     c hosen.



                                                     Applicable                  Reasons for Choosing                                     Courthouse                    Location (Column C)


       1.           Class Actions       must be filed in the Stanley              Mask Courthouse,               Central     District.               7.      Location     where petitioner     lives.

       2.           Permissive      filing   in Central   District.                                                                                  8.      Location     wherein    defendant/respondent          functions     wholly.

      3.            Location      where cause of action           arose.                                                                             9.      Location     where one or more of the parties           reside.

      4.            Mandatory        personal     injury filing       in North District.                                                             10.     Location     of Labor Commissioner         Office.

      5.            Location      where performance            required,        or defendant          resides.                                       11.    Mandatory filing location (Hub Cases —unlawful detainer,                       limited
                                                                                                                                                            non -collection, limited collection, or personal injury).
      6.            Location      of property      or permanently            garaged       vehicle.




                                                   A                                                                                                 B                                                                            C
                                 Civil Case Cover Sheet                                                                            Type of Action                                                                 Applicable Reasons
                                        Case Type                                                                                ( check only one)                                                                ( See Step 3 above)


                                                      Personal                Injury          Cases Assigned                         to the Personal                       Injury       Hub Courts
                                             Auto (22)                            0 2201 Motor Vehicle —Personal                                           Injury/Property                                                     1, 4, 11
                                                                                  Damage/Wrongful   Death

                                 Uninsured         Motorist           (46)         1:1 4601 Uninsured                      Motorist               —Personal        Injury/Property                                             1, 4, 11
                                                                                   Damage/Wrongful                         Death

                                 Other Personal Injury/                           0 2301 Premise                     Liability           (e.g.,     dangerous          conditions        of                                    1, 4, 11
                                  Property Damage/                                p roperty, slip/trip                     and fall, dog attack,                  etc.)
        Auto Tort




                                  W rongful Death (23)
                                                                                  0 2302 Intentional                        Bodily Injury/Property                         Damage/Wrongful                                     1, 4, 11
                                                                                  Death (e.g., assault,                      battery, vandalism,                        etc.)

                                                                                  0 2303 Intentional                        Infliction            of Emotional            Distress                                             1, 4, 11

                                                                                  0 2304 Other Personal                             Injury/Property                 Damage/Wrongful                                            1, 4, 11
                                                                                   Death
                                                                                   0 2307 Construction                           Accidents                                                                                     1, 4, 11


LASC CIV 109 Rev. 05/22                                                          CIVIL CASE COVERSHEET ADDENDUM                                                                                                   —
                                                                                                                                                                                                                  LASC Local li —
                                                                                                                                                                                                                                ure 2.3
For Mandatory Use
                                                                                    ANDSTATEMENTOF LOCATION
      Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 6 of 40 Page ID #:18

      SHORTTITLE                                                                                                                                                              CASE NUMBER
                                                 DKGarment International             Corporation      and David Wang v. Mercedes-Benz           USA, LLC



                                                              A                                                                      B                                                                 C
                                                 Civil Case Cover Sheet                                                        Type of Action                                               Applicable   Reasons
                                                        Cas. e Type                                                          ( check only one)                                              ( See Step 3 above)
                                                             . ,


                                                                Personal             Injury        Cases Assigned          to the Independent                        Calendar      Courts
                                                   Product      Liability     (24)             0 2401 Product         Liability   (not asbestos             or toxic/                                 1, 3, 5
                                                                                               e nvironmental)
                                                                                               :1 1 2402 Product Liability -Song -Beverly Consumer Warranty                                           1, 3, 5
                             Death Tort




                                                                                               Act (CA Civil Code §§1790-1795.8)    (Lemon Law)
       Other Personal Injury/Property




                                                Medical      Malpractice           (45)        ID 4501 Medical        Malpractice         - Physicians           &Surgeons                            1, 3, 5

                                                                                               0 4502 Other Professional                Health Case Malpractice                                       1, 3, 5
        Damage/Wrongful




                                                 Other Personal Injury/                            E 2305 Elder/Dependent             Adult Abuse/Claims                Against Skilled               1, 3, 5
                                                  Property Damage /                                Nursing Facility
                                                  W rongful Death (23)
                                                                                               I=1 2306 Intentional         Conduct -Sexual              Abuse Case (in any                           1,3, 5
                                                                                               form)

                                                                                               CI 2308 Landlord        -Tenant         Habitability         (e.g.,   bed bugs, mold,                  1, 3, 5
                                                                                               etc.)

                                                                            Other Civil Cases Assigned                     to Independent                   Calendar         Courts

                                                     Business       Tort (07)                  0 0701 Other Commercial/Business                         Tort (not fraud or                            1, 2, 3
                                       Damage




                                                                                               b reach of contract)

                                                       Civil Rights (08)                       0 0801 Civil Rights/Discrimination                                                                     1, 2, 3
                 /Wrongful Death Tort
                       Injury/Property




                                                      Defamation            (13)               0 1301 Defamation            (slander/libel)                                                           1, 2, 3

                                                          Fraud (16)                           0 1601 Fraud (no contract)                                                                             1, 2, 3

                                                 Professional       Negligence                     El 2501 Legal Malpractice                                                                          1, 2, 3
       Non -Personal




                                                                ( 25)
                                                                                               0 2502 Other Professional                Malpractice          (not medical or legal)                   1, 2, 3

                                                          Other (35)                           0 3501 Other Non-Personal                  Injury/Property            Damage Tort                      1, 2, 3

                                                Wrongful Termination                 (36)      0 3601 Wrongful Termination                                                                            1, 2, 3
       Employment




                                                 Other Employment (15)                         0 1501 Other Employment Complaint                            Case                                      1, 2, 3

                                                                                               0 1502 Labor Commissioner                      Appeals                                             -     10

                                                   Breach of Contract/                         0 0601 Breach of Rental/Lease                     Contract      (not unlawful                           2, 5
                                                      Warranty (06)                            detainer or wrongful eviction)
                                                     ( not insurance)
                                                                                                                                                                                                       2,5
        Contract




                                                                                               0 0602 Contract/Warranty   Breach -Seller Plaintiff (no
                                                                                               f raud/negligence)
                                                                                                                ,
                                                                                               CI 0603 Negligent Breach of Contract/Warranty      (no fraud)                                          1, 2, 5



LASC CIV 109 Rev. 05/22                                                                     CIVIL CASE COVERSHEET ADDENDUM                                                                    LASC Local Rule 2.3
For Mandatory Use
                                                                                               ANDSTATEMENTOF LOCATION
      Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 7 of 40 Page ID #:19

      SHORTTITLE                                                                                                                                 CASE NUMBER
                          DKGarment International          Corporation   and David Wang v. Mercedes-Benz          USA, LLC



                                       A                                                                     B                                                         C
                       Civil Case Cover Sheet                                                  Type of Action                                              Applicable Reasons
                              Case Type                                                      ( check only one)                                             ( See Step 3 above)
                          Breach of Contract/                     0 0604 Other Breach of Contract/Warranty                        (no fraud/                        1, 2, 5
                            W  arranty (06)                       negligence)                                                                                              '
                           ( not insurance)                       0 0605 Breach of Rental/Lease                Contract       (COVID-19 Rental                        2, 5
                                                                  Debt)
                             Collections     (09)                 0 0901 Collections      Case -Seller           Plaintiff                                         5, 6, 11

                                                                  0 0902 Other Promissory             Note/Collections            Case                               5, 11

                                                                  0 0903 Collections Case - Purchased Debt (charged off                                            5, 6, 11
       Contract




                                                                  consumer debt purchased on or after January 1, 2014)
                                                                  0 0904 Collections      Case - COVID-19 Rental Debt                                                5, 11

                        I nsurance    Coverage (18)               0 1801 Insurance       Coverage (not complex)                                                    1, 2, 5, 8

                          Other Contract          (37)            0 3701 Contractual        Fraud                                                                  1, 2, 3, 5

                                                                  0 3702 Tortious      Interference                                                                1, 2, 3, 5

                                                                  0 3703 Other Contract         Dispute (not breach/insurance/fraud/                              1, 2, 3, 8, 9
                                                                  n egligence)
                       Eminent Domain/ Inverse                    0 1401 Eminent Domain/Condemnation                                                                  2, 6
                         Condemnation (14)
                                                                                                               Number of Parcels

                         Wrongful      Eviction     (33)          0 3301 Wrongful Eviction            Case                                                            2, 6
       Real Property




                       Other Real Property            (26)        0 2601 Mortgage        Foreclosure                                                                  2, 6

                                                                  0 2602 Quiet Title                                                                                  2, 6

                                                                  0 2603 Other Real Property            (not eminent domain,                                          2, 6
                                                                  l andlord/tenant, foreclosure)
                          Unlawful Detainer-                      0 3101 Unlawful Detainer            - Commercial (not drugs or                                     6, 11
                           Commercial (31)                        wrongful eviction)

                          Unlawful Detainer-                      0 3201 Unlawful Detainer            - Residential           (not drugs or                          6, 11
       Detainer




                            Residential (32)                      wrongful eviction)

                       Unlawful Detainer -Post                    0 3401 Unlawful       Detainer       -Post       Foreclosure                                      2,6, 11
       Unlawful




                           Foreclosure (34)

                          Unlawful Detainer-                      0 3801 Unlawful       Detainer-          Drugs                                                    2, 6, 11
                               Drugs (38)

                          Asset Forfeiture        (05)            0 0501 Asset Forfeiture           Case                                                             2, 3, 6

                        Petition     re Arbitration               0 1101 Petition      to Compel/Confirm/Vacate                    Arbitration                        2, 5
                                     ( 11)
       Review
       Judicial




                         Writ of Mandate (02)                     0 0201 Writ -Administrative                Mandamus                                                 2,8

                                                                  0 0202 Writ - Mandamus on Limited                          Court Case Matter                         2

                                                                  0 0203 Writ - Other Limited               Court Case Review                                          2


LASC CIV 109 Rev. 05/22                                        CIVIL CASE COVERSHEET ADDENDUM                                                                  LASC Local Rule 2.3
For Mandatory Use
                                                                  ANDSTATEMENTOF LOCATION
      Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 8 of 40 Page ID #:20

      SHORTTITLE                                                                                                                                      CASE NUMBER
                                 DKGarment International       Corporation    and David Wang v. Mercedes-Benz               USA, LLC



                                          A                                                                     B                                                          C
                               Civil Case Cover Sheet                                                    Type of Action                                         Applicable   Reasons
                                      Case Type                                                        ( check only one)                                        ( See Step 3 above)

                              Other Judicial       Review (39)          0 3901 Other Writ/Judicial               Review                                                   2,8
       Review




                                                                        CI 3902 Administrative           Hearing                                                          2, 8
       Judicial




                                                                        CI 3903 Parking       Appeal                                                                      2,8

                                     Antitrust/Trade                    0 0301 Antitrust/Trade             Regulation                                                    1, 2, 8
                                     Regulation (03)
                                      Asbestos       (04)               0 0401 Asbestos         Property        Damage                                                    1, 11

                                                                                                                                                                          1, 11
       Complex Litigation




                                                                   .    0 0402 Asbestos        Personal        Injury/Wrongful         Death

                               Construction        Defect (10)          0 1001 Construction            Defect                                                            1, 2, 3

                                Claims Involving Mass                   0 4001 Claims Involving               Mass Tort                                                  1, 2, 8
                                       Tort (40)

                               Securities      Litigation   (28)        0 2801 Securities        Litigation      Case                                                    1, 2, 8
       Provisionally




                                         Toxic Tort                     0 3001 Toxic Tort/Environmental                                                                 1, 2, 3, 8
                                   Environmental    (30)
                                  I nsurance Coverage                   0 4101 Insurance        Coverage/Subrogation               (complex      case only)             1, 2, 5, 8
                                 Claims from Complex
                                         Case (41)                                                                      .
                              Enforcement         ofJudgment            0 2001 Sister      State Judgment                                                                2, 5, 11
       of Judgment




                                              ( 20)
                                                                        0 2002 Abstract        of Judgment                                                                2, 6

                                                                        0 2003 Confession          of Judgment (non -domestic               relations)                    2, 9

                                                                        0 2004 Administrative            Agency Award (not unpaid taxes)                                  2, 8
       Enforcement




                                                                        Cl 2005 Petition/Certificate             for Entry of Judgment          Unpaid Tax                 2, 8

                                                                        CI 2006 Other Enforcement                ofJudgment         Case                                 2, 8, 9

                                            RICO (27)                   0 2701 Racketeering            (RICO) Case                                                       1, 2, 8

                                    Other Complaints                                                                                                                     1, 2, 8
                      Civil




                                                                        0 4201 Declaratory         Relief Only
                              ( not specified above) (42)
                                                                                                                                                                           2, 8
           Complaints




                                                                        0 4202 Injunctive        Relief Only (not domestic/harassment)
       Miscellaneous




                                                                        El 4203 Other Commercial                Complaint       Case (non-tort/non-                      1, 2, 8
                                                                        complex)
                                                                        0 4304 Other Civil Complaint               (non-tort/non-complex)                                1, 2, 8

                               Partnership  Corporation                 0 2101 Partnership          and Corporation            Governance      Case                        2, 8
                                    Governance (21)
       Civil Petitions
       Miscellaneous




                                     Other Petitions                    0 4301 Civil Harassment               with Damages                                               2, 3, 9
                              ( not specified  above) (43)
                                                                        CI 4302 Workplace         Harassment            with Damages                                     2, 3, 9


LASC CIV 109 Rev. 05/22                                                CIVIL CASE COVERSHEET ADDENDUM                                                               LASC Local Rule 2.3
For Mandatory Use
                                                                          ANDSTATEMENTOF LOCATION
      Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 9 of 40 Page ID #:21

      SHORTTITLE                                                                                                                        CASE NUMBER
                                 DKGarment International       Corporation   and David Wang v. Mercedes-Benz       USA, LLC



                                         A                                                                     B                                                 , C
                              Civil Case Cover Sheet                                                Type of Action                                    Applicable Reasons
                                       Case Type                                                  ( check only one)                                   ( See Step 3 above)
                                     Other Petitions
                                                                      0 4303 Elder/Dependent          Adult Abuse Case with Damages                             2, 3, 9
                            ( not specified     above) (43)
       Civil




                                                                      0 4304 Election       Contest                                                               2

                                                                      CI 4305 Petition                                                                           2, 7
             Petitions




                                                                                            for Change of Name/Change of Gender
       Miscellaneous




                                                                       CI 4306 Petition     for Relief from Late Claim Law                                      2, 3, 8

                                                                      0 4307 Other Civil Petition                                                                2, 9

     Step 4: Statement of Reason and Address: Check the appropriate                boxes for the numbers shown under
     Column C for the type of action that you have selected.       Enter the address, which is the basis for the filing
     location including zip code. (No address required for   class  action cases).
       REASON:                                                                                         ADDRESS:

      • 1. •              2. • 3. • 4. • 5. • 6. • 7. • 8. • 9. • 10. • 11.
                                                                                                                              150 West Commonwealth
       CITY:                                                STATE:                 ZIP CODE:                                                                     .

                           Alhambra                                  CA                   91801

     Step 5: Certification    of Assignment:   I certify that this case is properly filed in the   Alhambra Courthouse
     District of the Superior Court of California,      County of Los Angeles [Code of Civ. Proc., 392 et seq., and LASC
     Local Rule 2.3(a)(1)(E)]


     Dated:                January       17, 2024
                                                                                                      (SIG NAT                       ING PARTY)


     PLEASE HAVETHE FOLLOWINGITEMS COMPLETEDANDREADYTO BE FILED IN ORDERTO PROPERLY
     COMMENCE  YOURNEWCOURTCASE:
             1. Original               Complaint           or Petition.
             2.          If filing   a Complaint,           a completed          Summons form for issuance                    by the Clerk.
             3. Civil Case Cover Sheet Judicial                              Council form CM-010.
            4. Civil Case Cover Sheet Addendum and Statement                                            of Location       form LASC CIV 109 (05/22).
            5. Payment in full of the filing fee, unless there is a court order for waiver,                                            partial    or schedule     payments.
            6. A signed                  order appointing  a Guardian ad Litem, Judicial                                Council form CIV-010, if the plaintiff                or
               petitioner                 is a minor under 18 years of age will be required                             by Court to issue a Summons.
             7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this
                a ddendum must be served along with the Summons and Complaint, or other initiating   pleading in
                t he case.



LASCCIV 109 Rev. 05/22                                            CIVIL CASE COVERSHEET ADDENDUM                                                       - LASC Local Rule 2.3
For Mandatory Use
                                                                     ANDSTATEMENTOF LOCATION
 Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 10 of 40 Page ID #:22




      CALIFORNIA CONSUMER            ATTORNEYS,P.C.
 1                                                                    Electronically  FILED by
      M  ichael H. Rosenstein (SBN 169091)                            Superior Court of California,
      mhr@calattorneys.com                                            County of Los Angeles
 2                                                                    1/17/2024 7:52 AM
      Sepehr Daghighian (SBN 239349)                                  David W. Slayton,
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     DKGARMENT            INTERNATIONALCORPORATIONAND
10   DAVID WANG
11                                SUPERIOR COURTOF CALIFORNIA
12                                    COUNTYOF LOS ANGELES
13

14   DK Garment International Corporation   and        Case No.: 2 4A HCV00 0 96
     DAVID WANG,an individual,                         Unlimited Jurisdiction
15
                    Plaintiffs,                        COMPLAINT
16
17          VS.                                        1.   VIOLATION OF SONG-BEVERLY
                                                            ACT - BREACHOF EXPRESS
18   M ERCEDES-BENZ USA, LLC, a Delaware                    W ARRANTY
     Limited Liability Company, and DOES 1 through     2. VIOLATION OF SONG
                                                                          -BEVERLY
19
     10, inclusive,                                       ACT - BREACHOFIMPLIED
20                                                        W ARRANTY
                                                       3. VIOLATION OF THESONG-
21                  Defendants.                           BEVERLYACTSECTION 1793.2(b)
22

23

24

25

26

27

28

                                                     - 1-
                                                  COMPLAINT
 Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 11 of 40 Page ID #:23




 1                 Plaintiffs,         DKGarment International                       Corporation            and DAVID WANG,an individual,                              allege

 2   as follows             against        Defendants             MERCEDES
                                                                         -BENZ USA, LLC, a Delaware                                                 Limited       Liability

 3   Company ("Mercedes-Benz                                USA, LLC"), and DOES 1 through                                10 inclusive,          on information               and

 4   belief,      formed after a reasonable                       inquiry       under the circumstances:

 5                                                                DEMAND
                                                                       FORJURY TRIAL
 6                 1.            Plaintiffs,         DKGarment International                         Corporation        and David Wang, hereby demand
 7   trial     by jury in this action.

 8                                                                 GENERALALLEGATIONS
 9                 2.            Plaintiffs,         DKGarment International                         Corporation         and David Wang, are individuals

10   residing        in the City of Rosemead, State of California.

11                 3.            Defendant                Mercedes-Benz            USA, LLC is and was a Delaware                                  Limited        Liability

12   Company operating                    and doing business                   in the State of California.

13                 4.            These causes of action                      arise out of the warranty               obligations        of Mercedes-Benz              USA,

14   LLC in connection                   with a vehicle            purchased         by Plaintiffs          and for which Mercedes-Benz                       USA, LLC

15   issued       a written        warranty.

16                 5.            Plaintiffs         do not know the true names and capacities,                              whether corporate,             partnership,
17   associate,          individual            or otherwise        of Defendant             issued    herein as Does 1 through                   10, inclusive,       under

18   the provisions              of section         474 of the California               Code of Civil Procedure.                      Defendant        Does 1 through

19   10, inclusive,              are in some manner responsible                             for the acts,        occurrences          and transactions            set forth
20   herein,       and are legally               liable     to Plaintiffs.        Plaintiffs         will seek leave to amend this Complaint                           to set

21   forth       the true names and capacities                         of the fi ctitiously            named Defendant,               together        with appropriate

22   charging           allegations,           when ascertained.

23                 6.            All acts of corporate                 employees            as alleged       were authorized            or ratified      by an officer,

24   director,          or managing agent of the corporate                           employer.

25                 7.            Each Defendant,                  whether        actually        or fi ctitiously       named herein,             was the principal,

26   agent (actual            or ostensible),              or employee of each other Defendant,                           and in acting          as such principal            or

27   within the course and scope of such employment                                            or agency, took some part in the acts and omissions

28   hereinafter           set forth by reason of which each Defendant                                   is liable    to Plaintiffs      for the relief       prayed for

                                                                                     - 2-
                                                                                  COMPLAINT
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 1   herein.
 2                 8.             On September                   29, 2021,          Plaintiffs             purchased             a 2021 Mercedes-Benz                        Sprinter

 3   M2CA44, having VIN No. W1W4DBHY4MT048119
                                            ("the                                                                       Subject        Vehicle").        Express         warranties

4    accompanied              the sale of the Subject                          Vehicle       to Plaintiffs              by which Mercedes-Benz                         USA, LLC
 5   undertook           to preserve              or maintain             the utility       or performance                     of Plaintiffs'        vehicle       or to provide

 6   compensation                 if there was a failure               in such utility             or performance.
 7                 9.             The Subject                   Vehicle         was delivered                   to     Plaintiffs          with      serious          defects          and
 8   nonconformities                 to warranty               and developed             other serious               defects        and nonconformities                to warranty
9    including,          but not limited                 to, the to engine                defects,         engine        electronics            system     defects,        electrical

10   defects,       electronics           defects,         and other serious              nonconformities                  to warranty.
11                 10.            Plaintiffs        hereby revoke acceptance                            of the sales contract.
12                 11.            Pursuant          to the Song -Beverly                  Consumer Warranty                         Act (herein       after the "Act") Civil
13   Code sections                1790 et seq. the Subject                        Vehicle         constitutes           "consumer               goods" used primarily                   for
14   family or household                       purposes,         and Plaintiffs          have used the vehicle                      primarily       for those purposes.
15                 12.            Plaintiffs        are a "buyer"            of consumer goods under the Act.
16                 13.            Defendant            Mercedes-Benz                USA, LLC is a "manufacturer"                                and/or "distributor"             under
17   the Act.
18                 14.            To the extent                that one or more class action                         lawsuits        have been fi led or are fi led with

19   respect        to the nonconformities                         affecting        Plaintiffs'            vehicle,        without         conceding           the necessity             of
20   supplying           such notice,             Plaintiffs        hereby provides               notice      to Defendant               and/or Defendant's                agents of
21   Plaintiffs'         intent      to opt -out and be excluded                        from the settlement                    class of said class action               lawsuit(s).
22                 15.            Plaintiffs        hereby demand trial                   by jury in this action.
23                                                                   FIRST CAUSEOF ACTION

24                                Violation           of the Song -Beverly                  Act —Breach of Express                              Warranty
25                 16.            Plaintiff        incorporates            herein       by reference,            each and every allegation                     contained         in the

26   preceding           and succeeding                paragraphs           as though herein                 fully restated            and re -alleged.
27                 17.            Express          warranties          accompanied                 the sale           of the vehicle               to Plaintiffs          by which

28   Mercedes-Benz                  USA, LLC undertook                      to preserve           or maintain           the utility       or performance              of Plaintiffs'


                                                                                                 - 3-
                                                                                     COMPLAINT
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 1   vehicle       or to provide           compensation             if there was a failure              in such utility          or performance.

2                  18.        The Subject                 Vehicle          was delivered               to     Plaintiffs         with      serious         defects         and

 3   nonconformities                to warranty         and developed                other serious          defects        and nonconformities                 to warranty

4    including,          but not limited              to engine       defects,        engine     electronics          system        defects,      electrical         defects,

5    electronics         defects,      and other serious               nonconformities               to warranty.
6                  19.        Pursuant          to the Song -Beverly                 Consumer Warranty                     Act (herein         after the "Act") Civil

7    Code sections            1790 et seq. the vehicle                      constitutes        "consumer          goods" used primarily                   for family            or
8    household           purposes,         and Plaintiffs           have used the Subject               Vehicle         primarily        for those purposes.
9                  20.        Plaintiffs        are the "buyer"              of consumer goods under the Act.
10                 21.        Defendant           Mercedes-Benz                USA, LLC is a "manufacturer"                         and/or "distributor"                under
11   the Act.
12                 22.        The foregoing               defects      and nonconformities                  to warranty         manifested         themselves           in the

13   Subject        Vehicle         within     the applicable              express        warranty      period.       The nonconformities                  substantially

14   impair the use, value and/or safety                            of the vehicle.
15                 23.        Plaintiffs         delivered          the vehicle           to an authorized            Mercedes-Benz               USA, LLC repair
16   facility      for repair        of the nonconformities.
17                 24.        Defendant           was unable to conform Plaintiffs'                           vehicle       to the applicable           express        after a
18   reasonable          number of repair               attempts.
19                 25.        Notwithstanding                Plaintiffs'         entitlement,          Defendant            Mercedes-Benz               USA, LLC has
20   failed     to either     promptly          replace      the new motor vehicle                   or to promptly           make restitution           in accordance
21   with the Song -Beverly                    Act.
22                 26.        By failure          of Defendant             to remedy the defects                  as alleged        above, or to issue a refund
23   or replacement             vehicle,       Defendant            is in breach of its obligations                   under the Song -Beverly                   Act.

24                 27.        Under the Act, Plaintiffs                        are entitled          to reimbursement                of the price          paid for the
25   vehicle       less that amount directly                  attributable           to use by the Plaintiffs                prior to the fi rst presentation                   of
26   the nonconformities.
27                 28.        Plaintiffs         are entitled         to all incidental,         consequential,               and general         damages resulting

28   from Defendant's                failure     to comply with its obligations                        under the Song -Beverly                   Act.


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                                                                                 COMPLAINT
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 1                29.            Plaintiffs     are entitled        under the Song -Beverly                   Act to recover           as part of the judgment

2    a sum equal to the aggregate                        amount of costs               and expenses,            including        attorney's       fees, reasonably

3    incurred      in connection              with the commencement and prosecution                                  of this action.

4                 30.            Because Defendant                willfully     violated        the Song -Beverly             Act, Plaintiffs          are entitled          in

5    addition      to the amounts recovered,                      a civil penalty          of up to two times the amount of actual                              damages

6    for Mercedes-Benz                   USA, LLC's willful               failure      to comply with its responsibilities                       under the Act.

7                                                            SECONDCAUSEOF ACTION
 8                               Violation        of the Song -Beverly                 Act —Breach of Implied                     Warranty

9                 31.            Plaintiffs     incorporate          herein     by reference           each and every allegation                   contained          in the

10   preceding          and succeeding            paragraphs           as though herein             fully restated          and re -alleged.
11                32.            Mercedes-Benz              USA, LLC and its                        authorized           dealership           at which          Plaintiffs

12   purchased          the Subject           Vehicle     had reason to know the purpose                            of the Subject          Vehicle     at the time of

13   sale of the Subject               Vehicle.     The sale of the Subject                    Vehicle       was accompanied                by implied      warranties

14   provided       for under the law.
15                33.            Among other             warranties,          the sale of the Subject                  Vehicle        was accompanied                 by an

16   implied       warranty           that the Subject         Vehicle         was merchantable               pursuant       to Civil Code section                 1792.

17                34.            The Subject        Vehicle         was not fi t for the ordinary                     purpose     for which such goods are
18   used because           it was equipped              with one or more defective                       vehicle      systems/components.
19                35.            The Subject            Vehicle        did not measure               up to the promises                 or facts       stated       on the

20   container          or label because it was equipped                       with one or more defective                    vehicle        systems/components.

21                36.            The Subject        Vehicle        was not of the same quality                       as those generally          acceptable           in the

22   trade because           it was sold with one or more defective                             vehicle      systems/components                 which manifest               as

23   to engine defects,               engine electronics            system defects,             electrical      defects,      electronics       defects,        and other

24   serious      nonconformities               to warranty.
25                37.            Upon information              and belief,           the defective           vehicle       systems      and components                  were

26   present       at the time of sale of the Subject                               Vehicle;      thus,      extending        the duration            Of any implied
27   warranty       under Mexia v. Rinker Boat Co., Inc. (2009) 174 Ca1.App.4th                                                  1297, 1304-1305                and other

28   applicable          laws.


                                                                                         -5-
                                                                                COMPLAINT
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 1               38.           Plaintiffs      are entitled      to justifiably        revoke acceptance                 of the Subject         Vehicle       under
 2   Civil Code, section               1794, et seq;
 3               39.           Plaintiffs      hereby revoke acceptance                 of the Subject          Vehicle.
 4               40.           Plaintiffs      are entitled        to replacement              or reimbursement               pursuant        to Civil        Code,
 5   section     1794, et seq.
6                41.           Plaintiffs      are entitled       to rescission         of the contract           pursuant        to Civil      Code, section
 7   1794, et seq. and Commercial                        Code, section        2711.
 8               42.           Plaintiffs       are entitled       to recover           any incidental,             consequential,            and/or      "cover"
 9   damages under Commercial                       Code, sections          2711, 2712, and Civil Code, section                            1794, et seq.
10                                                            THIRD CAUSEOF ACTION
11                                          Violation        of the Song -Beverly              Act Section        1793.2(b)
12               43.           Plaintiffs      incorporate       herein     by reference          each and every allegation                   contained       in the
13   preceding         and succeeding            paragraphs       as though herein fully restated                    and re -alleged.
14               44.           Pursuant        to Civil       Code, section          1793.2,      subdivision            (a) a manufacturer            that sells
15   consumer goods in California,                       for which it has made an express                    warranty,       shall maintain         service     and
16   repair    facilities       or designate        and authorize           independent         service      and repair       facilities      to carry out the
17   terms of those warranties.
18               45.           Pursuant       to Civil Code, section               1793.2,      subdivision         (b), when service            and repair       of
19   goods is necessary               because they do not conform with the applicable                               express      warranties,        service     and
20   repair    shall be commenced within a reasonable                              time by the manufacturer                  or its representative.
21               46.           Civil Code, section             1793.2, subdivision             (b) further      states     that goods shall be serviced
22   or repaired            so as to conform to the applicable                    warranties      within 30 days and/or within a reasonable
23   time.
24               47.           The sale of the Subject             Vehicle        was accompanied              by express         warranties,       including         a
25   warranty        guaranteeing            that the Subject        Vehicle         was safe to drive and not equipped                         with defective
26   parts,    resulting        in the defects          set forth herein.
27               48.           Plaintiffs      delivered       the Subject         Vehicle      to Mercedes-Benz               USA, LLC's authorized
28   service      representatives             on multiple        occasions.         The Subject           Vehicle         was delivered         for repairs       of

                                                                               -6-
                                                                            COMPLAINT
 Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 16 of 40 Page ID #:28




 1   defects,      which amount to a nonconformities                            to the express         warranties      that accompanied             the sale of

2    the Subject        Vehicle.
 3              49.         Defendant's        authorized          facilities        did not conform            the Subject         Vehicle     to warranty

4    within     30-days and/or commence repairs                         within       a reasonable         time and Mercedes-Benz                 USA, LLC

 5   has failed        to tender the Subject        Vehicle         back to Plaintiffs             in conformance           with its warranties            within
6    the timeframes          set forth in Civil Code section                     1793.2(b).
7               50.         Plaintiffs     are entitled         to justifiably         revoke acceptance               of the Subject         Vehicle       under
 8   Civil Code, section            1794, et seq;
9               51.         Plaintiffs     hereby revoke acceptance                        of the Subject       Vehicle.
10              52.         Plaintiffs     are entitled          to replacement                or reimbursement              pursuant      to Civil         Code,
11   section      1794, et seq.
12              53.         Plaintiffs    are entitled      to rescission           of the contract         pursuant       to Civil Code section            1794,
13   et seq. and Commercial               Code, section           2711.
14              54.         Plaintiffs     are entitled          to recover           any "cover"           damages under             Commercial             Code
15   sections      2711, 2712, and Civil Code, section                          1794, et seq.
16              55.         Plaintiffs     are entitled     to recover            all incidental        and consequential           damages pursuant             to
17   1794 et seq and Commercial                  Code sections,             2711,2712,             and 2713 et seq.
18              56.         Plaintiffs     are entitled         in addition         to the amounts recovered,                   a civil   penalty       of up to
19   two times the amount of actual                      damages in that Mercedes-Benz                          USA, LLC has willfully                  failed   to
20   comply with its responsibilities                under the Act.
21                                                           PRAYERFORRELIEF
22                WHEREFORE,Plaintiffs                    prays for judgment                 against     Defendants,        as follows:
23                1.        For general,       special     and actual            damages according              to proof at trial;
24              2.          For rescission       of the purchase                contract      and restitution        of all monies expended;
25                3.        For diminution         in value;
26              4.          For incidental        and consequential                 damages according               to proof at trial;
27              5.          For civil penalty        in the amount of two times Plaintiffs'                            actual    damages;
28              6.          For prejudgment          interest        at the legal rate;


                                                                                    - 7-
                                                                           COMPLAINT
 Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 17 of 40 Page ID #:29




              7.            For reasonable   attorney's   fees and costs and expenses      of suit; and

2             8.            For such other     and further    relief      as the Court deems just   and proper   under   the

3                           circumstances.

4
     Dated:        January      17,2024                   CALIFORN             CONSUMER
                                                                                      ATTORNEYS,P.C.
5

6
                                                          Michae           sens em, Esq.
7                                                                   aghighian, Esq.
                                                          Sepehr
8                                                         James P. Martinez, Esq.
                                                          Attorneys for Plaintiffs,
9                                                         DK GARMENT           INTERNATIONAL
                                                          CORPORATIONANDDAVIDWANG
10
11            Plaintiffs,              INTERNATIONALCORPORATIONANDDAVID
                               DKGARMENT
12       hereby demand trial
     WANG,                                   by jury in this action.

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                                                                       - 8-
                                                             COMPLAINT
Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 18 of 40 Page ID #:30



                                       VOLUNTARY
                                               EFFICIENT LITIGATION STIPULATIONS


                                           The Early           Organizational               Meeting           Stipulation,           Discovery
                                       Resolution        Stipulation,            and Motions in Limine Stipulation                               are
Superior Court of California
County of Los Angeles
                                       voluntary       stipulations         entered         into by the parties.                   The parties
                                       may enter          into     one,      two, or all three                    of the stipulations;
                                       however,         they       may not alter                   the   stipulations              as written,
    LACBA                              because        the Court wants to ensure                          uniformity          of application.
Los Angeles County
Bar Association                        These        stipulations           are        meant         to encourage                   cooperation
Litigation Section

Los Angeles County
                                       between        the parties           and to assist                in resolving              issues     in a
Bar Association Labor and
Employment Law Section                 manner that promotes                      economic           case resolution                and judicial
                                       effi ciency.
    HI II            YSGVITC171-11!
t                  hi I dilpititirti
                                            The       following            organizations                 endorse             the       goal       of
Consumer Attorneys
Association of Los Angeles             promoting          efficiency             in   litigation         and       ask        that      counsel
                                       consider        using       these          stipulations           as a voluntary                     way to
                                       promote        communications                   and procedures                   among counsel
    zz'Aragill                         a nd with the court to fairly                  resolve        issues      in their cases.

                                       *Los Angeles                County Bar Association                        Litigation           Section*
Southern California
Defense Counsel
                                                      • Los Angeles                   County Bar Association
Assaa4lortabsfir           Lames
                                                        Labor and Employment                             Law Section*
                    ILK AMR'S


Association  of
Business Trial Lawyers                      *Consumer Attorneys                           Association              of Los Angeles*


                                                      *Southern             California             Defense         Counsel*


                                                    *Association                  of Business             Trial Lawyers*

California Employment
Lawyers Association
                                             _•California_Employmentlawyers.Association•


      LACIV 230 (NEW)
      LASC Approved 4-11
   Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 19 of 40 Page ID #:31



NAMEANDADDRESSOF ATTORNEYORPARTYVV1THOU1ATTORNEY:                      STATE BAR NUMBER                     Reserved   for Clerk's   File Stamp




          TELEPHONENO.:                               FAX NO. (Optional):
 E-MAIL ADDRESS(Optional):
    ATTORNEYFOR(Name):
SUPERIOR COURTOF CALIFORNIA, COUNTYOF LOS ANGELES
COURTHOUSE
         ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                                   CASE NUMBER:
             STIPULATION —EARLYORGANIZATIONALMEETING

      This stipulation     is intended to encourage cooperation      among the parties                 at an early stage                          in
      t he litigation  and   to assist the parties in efficient case resolution.

      The parties       agree that:

      1. The parties      commit to conduct an initial  conference     (in -person or via teleconference     or via
         videoconference)     within 15 days from the date this stipulation     is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge        the pleadings   necessary?     If the issue can be resolved            by
                a mendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                a gree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve.  Is the issue that the defendant seeks to raise amenable to resolution           on demurrer, or
                would some other type of motion be preferable?            Could a voluntary      targeted    exchange of
                d ocuments or information    by any party cure an uncertainty    in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation.         (For example, in an
                e mployment case, the employment records,          personnel   file and documents relating    to the
                conduct in question    could be considered   "core."     In a personal injury case, an incident or
                police report,  medical records,   and repair or maintenance          records could be considered
                "core.");

             c.   Exchange     of names and contact        information       of witnesses;

             d. Any insurance     agreement that may be available   to satisfy part or all of a judgment,                                         or to
                i ndemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information    that might be helpful to facilitate     understanding,    handling,
                or resolution of the case in a manner that preserves  objections    or privileges    by agreement;

             f.   Controlling issues of law that, if resolved early, will promote efficiency            and economy in other
                  phases of the case. Also, when and how such issues can be presented                   to the Court;

             g. Whether or when the case should               be scheduled       with a settlement     officer, what discovery or
                  court ruling on legal issues is reasonably            required to make settlement       discussions  meaningful,
                  a nd - whether - the - parties - wish to use -a -sitting -judge -or -a -private -mediator -or -other -options -as
      LACIV 229 (Rev 02/15)
      LASC Approved 04/11          STIPULATION —EARLYORGANIZATIONALMEETING
      For Optional Use                                                                                                                   Page 1 of 2
Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 20 of 40 Page ID #:32

 SHORT71TLE:                                                                                           CASE NUMBER:




               d iscussed     in the "Alternative      Dispute     Resolution   (ADR) Information          Package"          served       with the
               complaint;

         h. Computation of damages, including                    documents,     not privileged      or protected       from disclosure,         on
            which such computation is based;

         i.    Whether the case is suitable              for the Expedited  Jury Trial procedures                     (see     information       at
               www.lacourtorq  under "Civil"             and then under "General Information").

 2.            The time for a defending             party to respond to a complaint          or cross -complaint             will be extended
               to                                      for the complaint, and                                                   for the cross -
                            (INSERT DATE)                                                        (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               a nd the 30 days permitted        by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising       Judge due to the case management benefits provided by
               t his Stipulation. A copy of the General Order can be found at www.lacourtorci                 under "Civil",
               click on "General   Information",   then click on "Voluntary Efficient Litigation Stipulations".

 3.            The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
               a nd Early Organizational       Meeting Stipulation,     and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties'
               eff icient conduct or resolution     of the case. The parties shall attach the Joint Status Report to
               t he Case Management Conference               statement,     and file the documents    when the CMC
               statement is due.

 4.            References to "days" mean calendar days, unless otherwise noted. If the date for performing
               a ny act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

 The following         parties    stipulate:
 Date:

                  (TYPE ORPRINT NAME)                                                             (ATTORNEYFOR PLAINTIFF)
 Date:

                  (TYPE ORPRINT NAME)                                                            ( ATTORNEYFOR DEFENDANT)
 Date:

                  (TYPE ORPRINT NAME)                                                            ( ATTORNEYFOR DEFENDANT)
 Date:

                  (TYPE ORPRINT NAME)                                                            ( ATTORNEYFOR DEFENDANT)
 Date:

                  (TYPE ORPRINT NAME)                                                  ( ATTORNEYFOR
 Date:

                  (TYPE OR PRINT NAME)                                                 ( ATTORNEYFOR
 Date:

                  (TYPE ORPRINT_NAME).                                                 ( ATTORNEYFOR


 LACIV 229 (Rev 02/15)
 LASCApproved 04/11                STIPULATION —EARLYORGANIZATIONALMEETING                                                                Page 2 of 2
                             11111111817111111i                                                                                       ;
   Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 21 of 40 Page ID #:33

NAMEANDADDRESSOF ATTORNEYORPARTYWITHOUTATTORNEY:                         STATE BARNUMBER                                   Reserved   for Clerk's   File Stamp




    .     TELEPHONENO.:                                 FAX NO. (Optional):
 E-MAIL ADDRESS(Optional):
    ATTORNEYFOR(Name):
SUPERIOR COURTOF CALIFORNIA, COUNTYOF LOS ANGELES
         ADDRESS:
COURTHOUSE


PLAINTIFF:
                                                                                                               1
DEFENDANT:

                                                                                                                   CASE NUMBER:
                  STIPULATION —DISCOVERYRESOLUTION

      This stipulation      is intended            to provide a fast and informal                  resolution          of discovery issues
      t hrough limited        paperwork             and an informal   conference                   with the           Court to aid in the
      resolution     of the issues.

      The parties         agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         t he moving party fi rst makes a written request for an Informal Discovery Conference pursuant
         t o the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented     by parties
         a nd determine whether it can be resolved informally.   Nothing set forth herein will preclude a
         party from making a record at the conclusion      of an Informal Discovery Conference,      either
         orally or in writing.

     • 3. Following a reasonable  and good faith attempt at an informal resolution     of each issue to be
          presented,  a party may request an Informal Discovery Conference       pursuant to the following
          procedures:

                a. The party requesting             the Informal        Discovery     Conference       will:

                     i.    File a Request for Informal Discovery Conference     with the clerk's office on the
                           a pproved form (copy attached)   and deliver a courtesy,   conformed copy to the
                           a ssigned department;

                   i i.    Include   a brief summary of the dispute                 and specify     the relief        requested;              and

                           Serve the opposing party pursuant to any authorized    or agreed method of service
                           t hat ensures that the opposing party receives the Request for Informal Discovery
                           Conference no later than the next court day following the filing.

                b. Any Answer to a Request for Informal                       Discovery    Conference              must:

                    i.     Also be fi led on the approved             form (copy attached);

                   ii      Include -a- brief -summary -of - why the -requested             - relief -should - be -denied;
      LAC1V036 (new)
      LASC Approved 04/11               STIPULATION —DISCOVERYRESOLUTION
      For Optional Use                                                                                                                                 Page 1 of 3
Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 22 of 40 Page ID #:34

 SHORTTITLE:                                                                               CASE NUMBER:




               i ii.   Be fi led within two (2) court days of receipt       of the Request;         and

               i v.    Be served on the opposing          party pursuant to any authorized or agreed upon
                       method of service that ensures that the opposing party receives the Answer no
                       l ater than the next court day following the fi ling.

       c. No other pleadings,         including    but not limited   to exhibits,   declarations,         or attachments,            will
          be accepted.

       d. If the Court has not granted or denied the Request for Informal Discovery Conference
          within ten (10) days following the fi ling of the Request, then it shall be deemed to have
           been denied.       If the Court acts on the Request, the parties will be notified whether the
          Request for Informal Discovery Conference         has been granted or denied and, if granted,
          t he date and time of the Informal Discovery Conference,      which must be within twenty (20)
          d ays of the fi ling of the Request for Informal Discovery Conference.

       e. If the conference   is not held within twenty (20) days of the fi ling of the Request for
          I nformal Discovery Conference,    unless extended by agreement of the parties and the
          Court, then the Request for the Informal Discovery Conference shall be deemed to have
          been denied at that time.

 4. If (a) the Court has denied a conference     or (b) one of the time deadlines above has expired
    without the Court having acted or (c) the Informal Discovery Conference is concluded without
    resolving the dispute, then a party may fi le a discovery motion to address unresolved issues.

 5. The parties      hereby further agree that the time for making a motion to compel or other
    d iscovery     motion is tolled from the date of fi ling of the Request for Informal Discovery
    Conference      until (a) the request is denied or deemed denied or (b) twenty (20) days after the
    fi ling of the Request for Informal Discovery Conference,    whichever is earlier, unless extended
     b y Order of the Court.

       I t is the understanding  and intent of the parties that this stipulation      shall, for each discovery
      d ispute to which it applies, constitute   a writing memorializing       a "specific    later date to which
      t he propounding [or demanding or requesting]       party and the responding          party have agreed in
      writing," within the meaning of Code Civil Procedure sections 2030.300(c),                 2031.320(c), and
      2033.290(c).

 6. Nothing herein will preclude any party from applying ex parte for appropriate                              relief,      including
    a n order shortening time for a motion to be heard concerning discovery.

 7. Any party may terminate              this stipulation    by giving    twenty-one     (21) days notice                of intent      to
    t erminate the stipulation.

 8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
    a ny act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
    for performing that act shall be extended to the next Court day.



 LACIV 036 (new)
 LASC Approved 04/11              STIPULATION —DISCOVERYRESOLUTION
 For Optional Use                                                                                                            Page 2 of 3
Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 23 of 40 Page ID #:35

• SHORTTITLE:                                                            CASE NUMBER:




 The following         parties      stipulate:

 Date:
                 (TYPE ORPRINT NAME)                                   (ATTORNEYFOR PLAINTIFF)
 Date:
                 (TYPE ORPRINT NAME)                                  ( ATTORNEYFOR DEFENDANT)
 Date:
                 (TYPE OR PRINT NAME)                                 ( ATTORNEYFOR DEFENDANT)
 Date:
                 (TYPE ORPRINT NAME)                                  ( ATTORNEYFOR DEFENDANT)
 Date:
                 (TYPE ORPRINT NAME)                           ( ATTORNEYFOR
 Date:
                 (TYPE ORPRINT NAME)                           ( ATTORNEYFOR
 Date:
                 (TYPE OR PRINT NAME)                          ( ATTORNEYFOR




                       F         SaZri                                                           Clear

 LACIV 036 (new)
 LASC Approved 04/11                     STIPULATION —DISCOVERYRESOLUTION
 For Optional Use                                                                                  Page 3 of 3
   Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 24 of 40 Page ID #:36



NAMEANDADDRESSOF ATTORNEYORPARTYWITHOUTATTORNEY:                                          STATE BARNUMBER                                      Resolved      for Glades File Stamp




    .     TELEPHONENO.:                                                 FAX NO. (Optional):
 E-MAIL ADDRESS(Optional):
    ATTORNEYFOR(Name):
SUPERIOR COURTOF CALIFORNIA, COUNTYOF LOS ANGELES
COURTHOUSE
         ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                                                                    CASE NUMBER:
                         INFORMALDISCOVERYCONFERENCE
              ( pursuant        to the Discovery           Resolution       Stipulation        of the parties)
      1. This document relates to:
             0       Request for Informal Discovery                                    Conference
             LI     Answer to Request for Informal                                     Discovery Conference
      2. Deadline for Court to decide on Request:                                                                     (insert   date 10 calendar      days following             filing   of
             t he Request).
      3. Deadline              for Court to hold Informal                  Discovery           Conference:                                         (insert       date 20 calendar
             d ays following    fi ling of the Request).
      4. For a Request for Informal                Discovery     Conference,    briefly  describe the nature of the
         d iscovery    dispute,    including      the facts and legal arguments         at issue.  For an Answer to
         Request for Informal Discovery Conference,                   briefly describe   why the Court should deny
         t he requested     discovery,     including     the facts and legal arguments at issue.




      LACIV 094 (new)
      LASCApproved 04/11
                                                       INFORMALDISCOVERYCONFERENCE
      For 0 tional Use                      ( pursuant      to the Discovery              Resolution    Stipulation   of the parties)
   Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 25 of 40 Page ID #:37



NAMEANDADDRESSOF ATTORNEYOR PARTYWITHOUTATTORNEY:                    STATE BARNUMBER                   Reserved   for Clerk's   File Stamp




          TELEPHONENO.:                             FAX NO. (Optional):
 E-MAIL ADDRESS(Optional):
    ATTORNEYFOR(Name):
SUPERIOR COURTOF CALIFORNIA, COUNTYOF LOS ANGELES
COURTHOUSE
         ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                               CASE NUMBER:
              STIPULATION ANDORDER—MOTIONSIN LIMINE


      This stipulation            is intended   to provide fast and informal   resolution of evidentiary
      issues through           diligent efforts to define and discuss such issues and limit paperwork.


      The parties        agree that:

      1. At least        days before the fi nal status conference,        each party will provide all other
         parties with a list containing a one paragraph       explanation     of each proposed motion in
         limine. Each one paragraph explanation       must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter      will meet and confer, either in person or via teleconference                                              or
         videoconference,     concerning   all proposed motions in limine. In that meet and confer,                                          the
         parties will determine:

             a. Whether the parties can stipulate                 to any of the proposed motions.     If the parties                          so
                stipulate, they may fi le a stipulation            and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted                by means of a
                s hort joint statement     of issues. For each motion which can be addressed           by a short
                j oint statement   of issues, a short joint statement of issues must be filed with the Court
                 10 days prior to the fi nal status conference.        Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                a gree on a date and manner for exchanging            the parties' respective   portions   of the
                s hort joint statement     of issues and the process for fi ling the short joint statement      of
                 issues.

     • 3. All proposed motions in limine that are not either the subject of a stipulation     or briefed via
          a short joint statement of issues will be briefed and fi led in accordance    with the California
          Rules of Court and the Los Angeles Superior Court Rules.



     • LACIV 075 (new)
      LASC Approved 04/11          STIPULATION ANDORDER—MOTIONSIN LIMINE
      For Optional Use                                                                                                            Page 1 of 2
Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 26 of 40 Page ID #:38

 SHORTTITLE:                                                   CASE NUMBER: •




 The following         parties   stipulate:

 Date:

                 (TYPE ORPRINT NAME)                       (ATTORNEYFOR PLAINTIFF)
 Date:

                 (TYPE OR PRINT NAME)                     ( ATTORNEYFOR DEFENDANT)
 Date:

                 (TYPE OR PRINT NAME)                     ( ATTORNEYFOR DEFENDANT)
 Date:

                 (TYPE ORPRINT NAME)                      ( ATTORNEYFOR DEFENDANT),_
 Date:

                 (TYPE OR PRINT NAME)                 ( ATTORNEYFOR
 Date:

                 (TYPE OR PRINT NAME)                ( ATTORNEYFOR
 Date:

                 (TYPE OR PRINT NAME)                ( ATTORNEYFOR



 THE COURTSO ORDERS.

   Date:
                                                                J UDICIAL OFFICER




         Print                                                                       dear.


 LACIV 075 (new)
 LASC Approved 04/11         STIPULATION ANDORDER—MOTIONSIN LIMINE                   Page 2 of 2
  Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 27 of 40 Page ID #:39




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                                                                                                 LOS ANGELESSUPERIOR COURT

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                                                                                                                   OVAL"
.5                                                                                                                AVARRO,DEPUTY

 6

 7                                SUPERIOR COURTOFTHESTATE OF CALIFORNIA
                                             FORTHECOUNTYOFLOS ANGELES
 9
       General Order Re                                                  )         ORDERPURSUANTTO CCP 1054(a),
10
       Use of Voluntary Efficient                 Litigation             )         EXTENDINGTIME TO RESPONDBY
11     Stipulations                                                      )         30 DAYSWHENPARTIES AGREE
                                                                         )         TO EARLYORGANIZATIONAL
12                                                                       )         MEETINGSTIPULATION
13

14
                   ' Whereas the Los Angeles Superior                        Court and the Executive            Committee        of the
15
       Litigation       Section    of the Los Angeles County Bar Association                          have cooperated             in
16

17
       d rafting      "Voluntary      Efficient     Litigation       Stipulations"       and in proposing        the stipulations        for

18     use in general         jurisdiction        civil litigation      in Los Angeles County;
1 9,                 Whereas the Los Angeles County Bar Association                             Litigation      Section;       the Los
20
       Angeles         County Bar Association                  Labor and Employment Law Section;                     the Consumer
21
       Attorneys        Association          of Los Angeles;          the Association        of Southern        California      Defense
22

2.$    Counsel;        the Association            of Business        Trial Lawyers of Los Angeles;               and the California

24     Employment Lawyers Association                            all "endorse        the goal of promoting        efficiency      in
25
       litigation,     and ask that counsel               consider       using these stipulations            as a voluntary         way to
26
       promote communications                     and procedures             among counsel       and with the court to fairly
27
       resolve       issues   in their cases;"
28

                                                                             -1-

                                                  ORDERPURSUANTTO CCP 1054(a)
 Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 28 of 40 Page ID #:40




                   Whereas the Early Organizational                   Meeting Stipulation           is intended     to encourage
 1

 2   cooperation           among the parties             at an early stage in litigation           in order to achieve
 3   l itigation     efficiencies;
4
                   Whereas           it is intended    that use of the Early Organizational               Meeting Stipulation

     wil promote economic case resolution                          and judicial     efficiency;
 6

 7
                   Whereas,          in order to promote a meaningful               discussion       of pleading     issues     at the

 8   Early Organizational                  Meeting and potentially            to reduce the need for motions to
 9   c hallenge        the pleadings,           it is necessary     to allow additional           time to conduct the Early
10
     Organizational             Meeting before the time to respond                  to a complaint        or cross complaint
11
     has expired;
12

13                 Whereas           Code of Civil Procedure         section      1054(a) allows a judge of the court in

14   which an action             is pending to extend for not more than 30 days the time to respond                                to
15
     a pleading         "upon good cause shown";
16
                   Now, therefore,           this Court hereby fi nds that there is good cause to extend for 30
17
     days the time to respond                    to a complaint     or to a cross complaint            in any action     in which
18

19   t he parties        have entered           into the Early Organizational            Meeting Stipulation.          This finding
20   of good cause is based on the anticipated                         judicial    efficiency      and benefits     of economic
21
     case resolution            that the Early Organizational                 Meeting Stipulation        is intended     to
22
     p romote.
23

24
                   IT IS HEREBYORDEREDthat, in any case in which the parties                                       have entered

25   i nto an Early Organizational                    Meeting Stipulation,        the time for a defending           party to
26   respond to a complaint                   or cross complaint       shall be extended            by the 30 days permitted
27

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                                                 ORDERPURSUANTTO CCP 1054(a)
  Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 29 of 40 Page ID #:41




        .byOode. ofCM Procedure    tedtiOn10.54(e).WithdtkfUether      need of a specific   court

        order:


  4,
        DATED:
  5                                                 Carolyn B. Ku ° Supervising Judge 'o f the
                                                    Civil Departments; Los Angeles Superior Court



   8:



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                                  ORDERPURSUANTTO CCP 1054(a)
     Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 30 of 40 Page ID #:42
                                                                                                                                                2019-GEN-014-00

                                                                                                                               FILED
                                                                                                                    Superior Court of Califbrula
 1                                                                                                                     County of Los Angeles

 2                                                                                                                            MAY 04 2019
                                                                                                             Sherri_        Carter, Fs fi ve Officer/Clerk
 3
                                                                                                              By                   •              ,Deputy
4                                                                                                                               alinda Mina

 5
                                      SUPERIOR COURTOF THESTATE OF CALIFORNIA
6
                                                    FORTHECOUNTYOF LOS ANGELES
7

 8     IN RE LOS ANGELESSUPERIOR COURT) FIRST AMENDED
                                                    GENERALORDER
       —MANDATORY   ELECTRONICFILING )
 9     FORCIVIL
10

11

12               On December 3, 2018, the Los Angeles County Superior                                      Court mandated electronic                 fi ling of all
13     documents       in Limited         Civil cases by litigants          represented           by attorneys.         On January           2, 2019, the Los
14     Angeles       County Superior          Court mandated            electronic        fi ling of all documents                    fi led in Non-Complex
15     Unlimited      Civil cases by litigants            represented      by attorneys.           (California         Rules of Court, rule 2.253(b).)
16     All electronically         fi led documents           in Limited        and Non-Complex                   Unlimited       cases are subject              to the
17     f ollowing:

18     1) DEFINITIONS
19          a) "Bookmark"                 A bookmark is a PDF document navigational                               tool that allows the reader              to
20               quickly locate          and navigate        to a designated         point of interest           within a document.
21          b) "Efiling        Portal"        The official       court website includes              a webpage, referred               to as the efiling
22               portal,     that gives litigants        access to the approved               Electronic      Filing        Service     Providers.
23          c) "Electronic          Envelope"           A transaction      through       the electronic           service      provider      for submission

24               of documents         to the Court for processing               which may contain                 one or more PDF documents
25               attached.

            d) "Electronic          Filing"         Electronic     Filing (eFiling)           is the electronic        transmission          to a Court of a

27 ,             document in electronic              form. (California         Rules of Court, rule 2.250(b)(7).)

28

                                                                                         1.
                                 FIRST AMENDED                      ELECTRONICFILING FOR CIVIL
                                             GENERALORDERRE MANDATORY
      Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 31 of 40 Page ID #:43
                                                                                                                                                               2019-GEN-014-00




          e) "Electronic            Filing         Service       Provider"             An Electronic            Filing     Service       Provider         (EFSP) is a

 2            person or entity             that receives           an electronic         fi ling from a party for retransmission                              to the Court.

 3            In the sulimission              of filings,         the EFSP does so on behalf of the electronic                                 filer      and not as an
 4            agent of the Court.                  (California        Rules of Court, rule 2.250(b)(8).)
 5        f) "Electronic            Signature"               For purposes           of these local rules and in conformity                               with Code of

 6            Civil Procedure              section       17, subdivision           (b)(3),       section        34, and section             1010.6, subdivision
 7           ( b)(2),     Government               Code section            68150, subdivision               (g), and California                Rules of Court, rule

  8           2.257, the term "Electronic                        Signature"        is generally          defined         as an electronic          sound, symbol, or
 9            process      attached          to or logically          associated         with an electronic                record      and executed                or adopted
10            b y a f3erson        with the intent               to sign the electronic               record.
11        g) "Hyperlink"                  An electronic            link providing            direct     access from one distinctively                        marked place
 12           i n a hypertext           or hypermedia               document to another                 in the same or different                 document.
13        h) "Portable           Document Format"                          A digital      document format that preserves                           all fonts,
 14 '         formatting,         colors       and graphics           of the original           source document,                regardless             of the application
 15           platform         used.

 16        MANDATORY
                   ELECTRONICFILING
 17        a) Trial Court Records
 18           Pursuant          to Government                Code section        68150, trial court records                     may be created,                maintained,
 19 ,          and preserved             in electronic           format.      Any document that the Court receives                                electronically                 must
20 ;           be clerically         processed           and must satisfy              all legal fi ling requirements                   in order to be filed                    as an
21             official   court record (California                     Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22         b) Represented              Litigants

23            Pursuant          to California           Rules of Court, rule 2.253(b),                      represented         litigants       are required               to
2              electronically           file documents              with the Court through                  an approved             EFSP.
245        c) Public      Notice
 26            The Court has isgued a Public Notice with effective                                         dates the Court required                      parties      to

27             electronically           file documents              through      one or more approved                      EFSPs. Public                Notices       containing
                   z
' 28-      —effective           datesTarid         the lisrof       EFSPs -are available                odthe'CoUrt's               website;    -at'w wW:lacourt:org:                   -

                                                             2.
                                 FIRST AMENDED                      ELECTRONICFILING FOR CIVIL
                                             GENERALORDERRE MANDATORY
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 1          d) Documents in Related                Cases
 2             Documents in related              cases must be electronically                   filed in the eFiling         portal    for that case type if
 3             electronic      fi ling has been implemented                    in that case type, regardless            of whether the case has
 4              been related     to a Civil case.
 5          EXEMPTLITIGANTS
 6          a) Pursuant     to California         Rules of Court, rule 2.253(b)(2),                    self -represented         litigants      are exempt
 7             from mandatory            electronic        fi ling requirements.
 8          b) Pursuant     to Code of Civil Procedure                   section      1010.6,      subdivision      (d)(3)     and California            Rules of
 9              Court, rule 2.253(b)(4),                any party may make application                  to the Court requesting                to be excused
10             from fi ling documents              electronically            and be permitted        to file documents           by conventional
11              means if the party shows undue hardship                          or significant       prejudice.
12     4 EXEMPTFILINGS
13          a) The following            documents         shall not be filed electronically:
14             i)      Peremptory          Challenges          or Challenges         for Cause of a Judicial           Officer        pursuant       to Code of
15                     Civil Procedure           sections       170.6 or 170.3;
16              i i)   Bonds/Undertaking                 documents;
17              iii)   Trial and Evidentiary                Hearing Exhibits
18              i v)   Any ex parte application                  that is fi led concurrently           with a new complaint                  including     those
19                     t hat will be handled              by a Writs and Receivers                department       in the Mosk courthouse;                 and
20 •            v)     Documents submitted                   conditionally         under seal.      The actual      motion or application                shall be
21                     electronically         fi led.     A courtesy         copy of the electronically            fi led motion or application               to
22                     s ubmit documents                conditionally         under seal must be provided              with the documents
23                     s ubmitted        conditionally         under seal.
24          b) Lodgments
25             Documents attached               to a Notice of Lodgment shall be lodged and/or served conventionally                                             in
26     paper form.     The actual        document entitled,             "Notice      of Lodgment,"          shall be filed electronically.
27

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                                                                                         3
                               FIRST AMENDED                      ELECTRONICFILING FOR CIVIL
                                           GENERALORDERRE MANDATORY
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        5) ELECTRONICFILING SYSTEMWORKING
                                        PROCEDURES
 2         Electronic        fi ling service        providers           must obtain      and manage registration               information      for persons
 3         and entities       electronically             fi ling with the court.
 4      6) TECHNICALREQUIREMENTS
 5         a) Electronic            documents            must be electronically            fi led in PDF, text searchable             format when
 6              t echnologically            feasible       without impairment              of the document's             image.
 7         b) The table of contents                    for any fi ling must be boolcrnarked.
 8         c) Electronic            documents,           including        but not limited         to, declarations,        proofs of service,         and
 9              e xhibits,      must be boolcmarked                  within the document pursuant                     to California    Rules of Court, rule
10              3.1110(f)(4).            Electronic         bookmarks           must include        links to the first       page of each boolanarked
11              i tem (e.g. exhibits,             declarations,          deposition       excerpts)        and with bookmark titles           that identify   the
12              bookedmarked               item and briefly              describe     the item.
13         d) Attachments               to primary         documents          must be boolanarked.              Examples include,            but are not
14-t            l imited      to, the following:
15'             i)         Depositions;
16 :            i i)       Declarations;
17              i ii)      Exhibits       (including         exhibits      to declarations);
18              i v)       Transcripts         (including         excerpts      within     transcripts);
19              v)         Points       and Authorities;
20              vi)        Citations;       and
21              vii)       Supporting          Briefs.
22         e) Use of hyperlinks                 within documents (including                     attachments           and exhibits)    is strongly
23              e ncouraged.
24              Accompanying                Documents
25-             Each doeiiment              acompanying              a single       pleading     must be electronically           fi led as a separate
26              digital      PDF document.
27              Multiple        Documents
281             Multifqe -d6-EuT"nditifelating                    to one case can be uploaded                  in one envelope         transaction.
                                   -
                                                                4
                                    FIRST AMENDED
                                                GENERALORDERRE MANDATORY
                                                                       ELECTRONICFILING FOR CIVIL
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 1       h) Writs and Abstracts
 2            Writs and Abstracts            must be submitted                 as a separate          electronic       envelope.
 3       i) Sealed Documents
 4:          If and when a judicial              officer      orders documents              to be fi led under seal, those documents                          must be
 5.          filed electronically           (unless        exempted          under paragraph            4); the burden of accurately                    designating
6            t he documents         as sealed         at the time of electronic               submission             is the submitting        party's
 7           r esponsibility.
 8       j) Redaction
 9           Pursuant       to California        Rules of Court, rule 1.201, it is the submitting                              party's      responsibility            to
10           r edact confidential           information         (such as using initials                 for names of minors, using the last four
11            digits of a social      security         number, and using the year for date of birth)                               so that the information
12           s hall not be publicly           displayed.
13     ) ELECTRONICFILING SCHEDULE
14 ,      a) Filed Date
15            i) Any document received                      electronically         by the court between 12:00 am and 11:59:59                                  pm
16                 s hall be deemed to have been effectively                          fi led on that court day if accepted                     for filing.        Any
17                 document received              electronically             on a non -court          day, is deemed to have been effectively
181,               filed on the next court day if accepted.                          (California           Rules of Court, rule 2.253(b)(6);                     Code
19                 Civ. Proc. § 1010.6(b)(3).)
20            i i) Notwithstanding            any other provision                of this order, if a digital               document is not fi led in due
21                 course because           of: (1) an interruption               in service;          (2) a transmission           error that is not the
22                 f ault of the transmitter;              or (3) a processing             failure      that occurs after receipt,            the Court may
23                 order, either      on its own motion or by noticed                          motion submitted              with a declaration              for Court
24                 consideration,       that the document be deemed filed                               and/or that the document's                fi ling date
25                 conform to the attempted                   transmission         date.

26     8) EXPARTEAPPLICATIONS
27        a) Ex parte applications              and all documents               in support           thereof       must be electronically          fi led no later
28            t han 10:00 a.m. the court day before the ex parte hearing.


                                FIRST AMENDED                      ELECTRONICFILING FOR CIVIL
                                            GENERALORDERRE MANDATORY
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             b) Any written           opposition     to an ex parte application                      must be electronically            fi led by 8:30 a.m. the

                 day of the ex parte hearing.                A printed          courtesy       copy of any opposition                 to an ex parte

 3               application         must be provided          to the court the day of the ex parte hearing.
 4         ) PRINTED COURTESYCOPIES
 5           a) For any fi ling electronically               fi led two or fewer days before the hearing,                             a courtesy     copy must
 6                be delivered          to the courtroom        by 4:30 p.m. the same business                          day the document is efiled.            If
 7               t he efiling       is submitted     after 4:30 p.m., the courtesy                      copy must be delivered              to the courtroom
                                                                                                         *".
 8                b y 10:00 a.m. the next business                 day.
 9           b) Regardless           of the time of electronic              fi ling, a printed          courtesy       copy (along       with proof of
10               electronic         submission)     is required        for the following                documents:
11                i)        Any printed       document required                pursuant        to a Standing           or General      Order;
12               i i)       Pleadings      and motions (including                 attachments           such as declarations            and exhibits)     of 26
13                          pages or more;
14' :? ;        iii)        Pleadings      and motions that include                   points       and authorities;
15 '            i v)        Demurrers;
16               v)         Anti-SLAPP fi lings,           pursuant         to Code of Civil Procedure                    section     425.16;
17              vi)         Motions for Summary Judgment/Adjudication;                                    and
18 '           vii)         Motions to Compel Further                  Discovery.
19'          c) Nothing in this General                  Order precludes              a Judicial       Officer     from requesting          a courtesy    copy of
20                additional        documents.       Courtroom             specific      courtesy        copy guidelines            can be found at
21                www.lacourt.org            on the Civil webpage under "Courtroom                                 Information."
22         0) WAIVEROFFEES ANDCOSTS FORELECTRONICALLYFILED DOCUMENTS

23           a) Fees and costs associated                  with electronic            filing       must be waived for any litigant                 who has
24 f:             r eceived        a fee waiver.    (California            Rules of Court, rules 2.253(b)(),                    2.258(b),       Code Civ. Proc. §
25 I.             1010.6(d)(2).)
26           b) Fee waiver applications                  for waiver of court fees and costs pursuant                            to Code of Civil Procedure
27                section       1010.6,    subdivision       (b)(6),       and california              Rules of Court, rule 2.252(f),               may be
-28-4           - electronically          fi led in any authorized             action - or proceeding.             ,

                                                                       _
                                   ' FIRST AMENDED
                                                 GENERALORDERRE MANDATORY
                                                                        ELECTRONICFILING FOR CIVIL
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        ) SIGNATURESONELECTRONICFILING
2          For purposes        of this General     Order, all electronic       filings    must be in compliance            with California

 3         Rules of Court, rule 2.257.           This General     Order applies          to documents       fi led within the Civil

           Division       of the Los Angeles County Superior               Court.
 5

6               This First Amended General             Order supersedes             any previous      order related     to electronic   fi ling,
 7     and is effective      immediately,    and is to remain in effect             until otherwise      ordered      by the Civil
8      Supervising        Judge and/or Presiding       Judge.
9

10     DATED: May 3, 2019
                                                                              KEVIN C. BRAZILE
11
                                                                              Presiding Judge
12

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                                FIRST AMENDED
                                            GENERALORDERRE MANDATORY
                                                                   ELECTRONICFILING FOR CIVIL
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                           Superior      Court of California,              County of Los Angeles


                               ALTERNATIVE DISPUTE RESOLUTION(ADR)
                                      I NFORMATIONPACKAGE
  THE PLAINTIFF MUSTSERVETHIS ADRINFORMATIONPACKAGEONEACHPARTYWITHTHE COMPLAINT.

  CROSS-COMPLAINANTSmust serve this ADRInformation             Package on any new parties     named to the action      with the
  c ross -complaint.



What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADRare negotiation,
mediation, arbitration, and settlement  conferences.    When ADRis done by phone, videoconference         or computer, it may
be called Online Dispute Resolution (ODR). These alternatives   to litigation  and trial are described below.

Advantages of ADR
   • Saves Time: ADRis faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADRprocess and provider for voluntary ADR.
   • Reduces Stress/Protects  Privacy: ADRis done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
    • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation,       and trial.
    • No Public Trial: ADRdoes not provide a public trial or decision by a judge or jury.

Main Types of ADR
    1. Negotiation:  Parties often talk with each other in person, or by phone or online about resolving their case with
       a settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2.   Mediation:    In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
         s trengths and weaknesses of their case, and works with them to try to create a settlement    agreement that is
         a cceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                 Mediation may be appropriate    when the parties
                    • want to work out a solution but need help from a neutral person.
                    • have communication      problems or strong emotions that interfere with resolution.

                 Mediation may not be appropriate   when the parties
                    • want a public trial and want a judge or jury to decide the outcome.
                    • lack equal bargaining   power or have a history of physical/emotional      abuse.




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For Mandatory Use
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                                  How to Arrange        Mediation     in Los Angeles        County

  Mediation      for civil cases is voluntary    and parties   may select   any mediator     they wish.   Options    include:

       a.     The Civil Mediation Vendor Resource List
              If all parties in an active civil case agree to mediation, they may contact these organizations                   to
              r equest a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
              cases).

            •     ADRServices, Inc. Assistant Case Manager Janet Solis, janet@adrservices.com
                 ( 213) 683-1600
            •     Mediation Center of Los Angeles Program Manager info@mediationLA.org
                 ( 833) 476-9145

              These organizations   cannot accept every case and they may decline cases at their discretion.
              They may offer online mediation by video conference for cases they accept. Before contacting
              t hese organizations, review important information and FAQs at www.lacourt.org/ADR.Res.List

              NOTE: The Civil Mediation         Vendor Resource      List program does not accept family law, probate,
              or small claims cases.

       b.     Los Angeles County Dispute Resolution       Programs. Los Angeles County -funded agencies provide
              mediation services on the day of hearings in small claims, unlawful detainer (eviction), civil
              h arassment, and limited civil (collections  and non -collection) cases.
              h ttps://dcba.lacountv.gov/countvwidedmi

              Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction)                    cases
              s hould carefully review the Notice and other information    they may receive about (ODR)
              r equirements    for their case. https://mv.lacourt.org/odr/

       c.     Mediators    and ADRand Bar organizations         that provide    mediation     may be found on the internet.

  3.   Arbitration:       Arbitration      is less formal than trial, but like trial, the parties present evidence and
       a rguments to the person who decides the outcome. In "binding" arbitration,                       the arbitrator's
       d ecision is final; there is no right to trial. In "nonbinding"            arbitration,  any party can request a trial
       a ft er the arbitrator's       decision.     For more information    about arbitration,    visit
       https://www.courts.ca.gov/programs-adr.htm

  4.   Mandatory Settlement        Conferences (MSC): MSCs are ordered by the Court and are often held close
       t o the trial date or on the day of trial. The parties and their attorneys        meet with a judge or
       s ettlement    officer who does not make a decision but who instead assists the parties in evaluating
       t he strengths     and weaknesses of the case and in negotiating     a settlement.       For information about
       t he Court's MSCprograms for civil cases, visit https://www.lacourt.orediyision/ciyil/C10047.aspx

  Los Angeles Superior Court ADRwebsite:   https://www.lacourt.org/diyisionicivil/C10109.aspx
  For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm



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  For Mandatory Use
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                                                                                                                            Reserved    for Cleric's   File Stamp
                      SUPERIOR COURTOF CALIFORNIA
                    .   ' COUNTYOF LOS ANGELES
           ADDRESS:
  COURTHOUSE
                                                                                                                                          FILED
 Alhambra Courthouse                                                                                                      Stkparior Coud of California
                                                                                                                            County of Los kolas
 150 West Commonwealth                     Avenue, Alhambra,                      CA91801
                                                                                                                                     01/17/2024
                       NOTICE OF CASE ASSIGNMENT                                                                 Ctivid W.Stlytti,      Eteligie       Oltcd   Ctet eiCauri
                                                                                                                    By                 M.Stepanyan                  &
                                                                                                                                                                    Apt ly
                             UNLIMITED CIVIL CASE

                                                                                                        CASE NUMBER:

  Your case is assigned       for all purposes        to the judicial   officer    indicated   below.   24AHCV00096

                               THIS FORMIS TO BE SERVEDWITHTHESUMMONS
                                                                    ANDCOMPLAINT

                    ASSIGNED JUDGE                      DEPT        ROOM •                         ASSIGNED JUDGE                                  DEPT             ROOM
    V     William    A. Crowfoot                       3




    Given to the Plaintiff/CrossComplainant/Attomey                of Record       David W. Slayton,        Executive                  Officer          / Clerk of Court
    on 01/18/2024                                                                              By M. Stepanyan                                                      , Deputy Clerk
                ( Date)
LACIV 190 (Rev 6/18)             NOTICE OF CASE ASSIGNMENT—UNLIMITED CIVIL CASE
LASC Approved 05/06
      Case 2:24-cv-03368-MWF-AGR Document 1-1 Filed 04/23/24 Page 40 of 40 Page ID #:52
                                      INSTRUCTIONS FOR HANDLINGUNLIMITED CIVIL CASES

The following critical   provisions   of the California      Rules of Court, Title 3, Division       7, as applicable   in the Superior        Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective      January     1, 2007. They apply to all general         civil cases.

PRIORITY OVEROTHERRULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGETO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice                           of assignment   for all purposes
t o a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent      Calendaring        Courts will be subject    to processing    under the following     time standards:

COMPLAINTS
All complaints shall be served within 60 days of fi ling and proof of service             shall be fi led within 90 days.

CROSS-COMPLAINTS
W ithout leave of court first being obtained, no cross -complaint     may be fi led by any party after their answer is filed.                           Cross -
complaints shall be served within 30 days of the fi ling date and a proof of service fi led within 60 days of the fi ling date.

STATUSCONFERENCE
A status conference    will be scheduled by the assigned            Independent     Calendar Judge no later than 270 days after the fi ling of the
complaint.    Counsel must be fully prepared to discuss            the following    issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUSCONFERENCE
The Court will require the parties to attend a fi nal status conference        not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation      motions, statements     of major evidentiary      issues, dispositive   motions, requested
form jury instructions,    special jury instructions, and special jury verdicts timely fi led and served prior to the conference.            These
matters may be heard and resolved at this conference.        At least fi ve days before this conference,       counsel must also have exchanged
l ists of exhibits and witnesses,  and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate      sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established     by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation   of the Division 7 or Chapter                  Three Rules, and adherence only to the above provisions is
t herefore not a guarantee   against the imposition   of sanctions                 under Trial Court Delay Reduction.    Careful reading and
compliance with the actual Chapter Rules is imperative.

 Class Actions
Pursuant to Local Rule 2.3, all class actions shall be fi led at the Stanley Mosk Courthouse and are randomly assigned to a complex
j udge at the designated complex courthouse.       If the case is found not to be a class action it will be returned to an Independent
 Calendar Courtroom for all purposes.

*Provisionally    Complex Cases
Cases fi led as provisionally   complex are initially assigned to the Supervising Judge of complex litigation   for determination  of
complex status.     If the case is deemed to be complex within the meaning of California     Rules of Court 3.400 et seq., it will be
r andomly assigned to a complex judge at the designated       complex courthouse. If the case is found not to be complex, it will be
r eturned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)            NOTICE OF CASE ASSIGNMENT- UNLIMITED CIVIL CASE
LASC Approved 05/06
